                        IN TilE UNITEI) STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
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                                    AUSTIN DIVISION


MARKUS A. GREEN                                     §
                                                    §
V.                                                  §           CIVIL NO. A-18-CV-563-LY
                                                    §
TEACHER'S RETIREMENT                               §
SYSTEM OF TEXAS                                    §




                                     ORDER OF DISMISSAL

       Before the court is Markus A. Green's Petition for Writ of Mandamus. The court presumes

Green seeks leave to proceed informa pauperis.

       Under the Prison Litigation Reform Act, a prisoner caimot bring a new civil action or appeal

a judgment in a civil action informapauperis if he or she has three or more times in the past, while

incarcerated, brought a civil action or appeal in federal court that was dismissed because it was

frivolous, malicious, or failed to state a claim upon which relief may be granted. The only exception

to this is if the prisoner is in "imminent danger of serious physical injury." See 28 U.S.C.   §   1915(g).

A prisoner who is not proceeding informapauperis may file a new civil action or appeal even ifthat

prisoner has three or more dismissals described in section 1915(g). Regardless of whether a prisoner

proceeds informapauperis in a civil case, if at any time the prisoner's case is dismissed as frivolous

or malicious, or for failure to state a claim, the dismissal will count against the prisoner for purposes

of the three-dismissal rule.

        While incarcerated, Green has filed at least three civil actions or appeals that have been

dismissed as frivolous, malicious or for failure to state a claim. See Green v. Vu, No. 10-50223 (5th


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Cir.) (dismissed as frivolous Aug. 27, 2010); Green v. Vu, No. A-09-CV-9 13 (W.D. Tex.) (dismissed

as frivolous Feb. 4, 2010); Green      v.   Grampre, No. 10-50230 (5th Cir.) (dismissed as frivolous

July 30, 2010); Green v. Grampre, No. A-09-CV-865 (W.D. Tex.) (dismissed as frivolous Feb. 4,

2010); Green v. Boyd, No. A-08-CV-03 6 (W.D. Tex.) (dismissed for failure to state a claim June 10,

2008). Therefore, Green may not file another civil action in forma pauperis while incarcerated

unless he is in "imminent danger of serious physical injury." 28 U.S.C.     §   1915(g). Green's petition

does not meet that standard.

       It is therefore ORDERED that Markus A. Green is DENIED leave to proceed in forma

pauperis, and his petition is DISMISSED WITHOUT PREJUDICE pursuant to the three-

dismissal rule of 28 U.S.C.   §   1915(g). Green's petition may be reinstated only if the full filing fee

is paid simultaneously with the filing      of a motion to reinstate.

       SIGNED this        )           day of July, 2018.




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                                                   LEE YFAKEL
                                                   UNITED STATES DISTRICT JUDGE
